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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT PIERCE DIVISION

CASE NO. 22-14074-CR-CANNON

UNITED STATES OF AMERICA,

Plaintiff,
V.

SHANNIMA YUANTRELL SESSION,
a/k/a “Shalamar”, a/k/a “Lean”,
a/k/a “Dreds”, a/k/a “Rasta”,

Defendant.
/

JURY VERDICT

We, the jury, unanimously find as follows as to the Defendant as to the following counts of the

Indictment:

COUNT ONE

As to Count 1 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion

involving Sherry W. — we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY ) C NOT GUILTY

COUNT TWO

As to Count 2 of the Indictment — Sex Trafficking of a Minor involving Kara B. —
we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY NOT GUILTY

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As to Count 2 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion
involving Kara B. — we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY NOT GUILTY

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COUNT THREE

As to Count 3 of the Indictment, Sex Trafficking by Force, Fraud, or Coercion

involving Sara K. we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY ? C NOT GUILTY

COUNT FOUR
As to Count 4 of the Indictment — Sex Trafficking of a Minor involving Katelyn F.

— we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY X NOT GUILTY

As to Count 4 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion

involving Katelyn F. — we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY x NOT GUILTY

COUNT FIVE
As to Count 5 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion
involving Amanda M. — we find defendant SHANNIMA YUANTRELL

SESSION:

GUILTY y NOT GUILTY

COUNT SIX
As to Count 6 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion
involving Dinah C. — we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY NOT GUILTY
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COUNT SEVEN
As to Count 7 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion
involving Angel T. — we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY NOT GUILTY

COUNT EIGHT
As to Count 8 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion

involving Jessica H. — we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY X NOT GUILTY

COUNT NINE

As to Count 9 of the Indictment — Sex Trafficking of a Minor involving Amanda L.

— we find defendant SHANNIMA YUANTRELL SESSION:

GUILTY NOT GUILTY

COUNT TEN

As to Count 10 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion

involving Tina I. — we find defendant SHANNIMA YUANTRELL SESSION:
GUILTY \ NOT GUILTY ae

COUNT ELEVEN

As to Count 11 of the Indictment — Sex Trafficking by Force, Fraud, or Coercion

involving Tiffanie R. — we find defendant SHANNIMA YUANTRELL

SESSION:

GUILTY x NOT GUILTY
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SO SAY WE ALL:
Signed and dated at the United States Courthouse, Fort Pierce, Florida, this LO day of

Septem ber 2024.

FOreperson’s Signature Foreperson’s Printed Name
